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10
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11   VICTOR DALFIO
12                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
13

                                                    Case No. '21CV0646 W       BLM
14
     VICTOR DALFIO, an individual,
15
               Plaintiff,
16
                                                    COMPLAINT FOR VIOLATIONS
         v.
17                                                  OF: AMERICANS WITH
     WALMART INC., a Delaware                       DISABILITIES ACT OF 1990, 42
18
     corporation; and DOES 1-10,                    U.S.C. § 12181, et seq.; UNRUH
19                                                  CIVIL RIGHTS ACT, CALIFORNIA
                Defendants.                         CIVIL CODE § 51, et seq.
20
21
                                                    DEMAND FOR JURY TRIAL
22
23
24    Most Americans, especially Seniors, become disabled at some point in life…
25
              Plaintiff Victor Dalfio (hereinafter referred to as “Plaintiff”) complains of
26
27   Defendants Walmart Inc., a Delaware corporation; and Does 1-10 (each,

28   individually a “Defendant,” and collectively “Defendants”), and alleges as follows:

                                            COMPLAINT
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 1                                     I.     PARTIES
 2
           1.     Plaintiff Victor Dalfio has had two hip replacements. He also
 3
 4   dislocated his hip. He has difficulty walking and standing. Plaintiff uses a cane

 5   most of the time and also uses a walker as needed. Plaintiff is a disabled person
 6
     entitled to the protections of the California Unruh Civil Rights Act (UCRA) (see
 7
 8   Cal. Civ. Code §§ 51, et seq., 52, et seq.), the Americans with Disabilities Act
 9   (ADA) (see 42 U.S.C. § 12102, et seq.), and other statutory laws which protect the
10
     rights of “disabled persons.” Plaintiff has been issued a blue permanent Disabled
11
12   Person Parking Placard, by the State of California. Plaintiff is a California resident
13   with physical disabilities.
14
           2.     Defendant Walmart Inc., a Delaware corporation, is/was a lessee of the
15
16   Property (the “Property”), located at 4840 Shawline Street, San Diego, CA 92111.
17         3.     There is a business establishment on the Property named “Walmart,”
18
     (hereinafter, “the business”).
19
20         4.     The business is a public accommodation as defined by 42 U.S.C. §
21
     12181(7).
22
           5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
23
24   owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
25
     corporate officers, managers, principles, and/or representatives of Defendants.
26
     Plaintiff is unaware of the true names and capacities of Defendants sued herein as
27
28
                                          2
                                      COMPLAINT
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 1   DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
 2
     names. Plaintiff requests that the Court grant leave to amend this complaint to
 3
 4   allege the true names and capacities when determined by whatever source.

 5          6.    Defendants, at all relevant times, were relevant to this action; were the
 6
     owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
 7
 8   agents, affiliates, employees, employers, representative partners, subsidiaries,
 9   partner companies, and/or joint venturers of the remaining Defendants; and were
10
     acting within the course and scope of that relationship. Upon information and
11
12   belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
13   authorized the acts alleged of each of the remaining Defendants.
14
            7.    Plaintiff visited the public accommodations owned, leased, and/or
15
16   operated by Defendants with the intent to purchase and/or use the goods, services,
17   facilities, privileges, advantages, and/or accommodations offered by Defendants.
18
                             II.    JURISDICTION & VENUE
19
            8.    This Court has subject matter jurisdiction over this action pursuant to
20
21   28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
22
            9.    Pursuant to supplemental jurisdiction, an attendant and related cause of
23
     action, arising from the same nucleus of operative facts, and arising out of the same
24
25   transactions, is also brought under the UCRA, which expressly incorporates the
26
     ADA.
27
28
            10.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
                                          3
                                      COMPLAINT
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 1   the real property which is the subject of this action is located in this district, and
 2
     Plaintiff’s cause of action arose in this district.
 3
 4                                         III.   FACTS

 5          11.    The Property is a facility which is open to the public and includes
 6
     business establishments.
 7
 8          12.    The Property has been newly constructed and/or underwent
 9   remodeling, repairs, or alterations after January 26, 1992. Defendants have failed
10
     to comply with California access standards which applied at the time of each new
11
12   construction and/or alteration, and/or failed to maintain accessible features in
13   operable working condition.
14
            13.    Plaintiff visited the Property during the relevant statutory period on
15
16   two (2) separate occasions, in September 2020 and March 2021 to patronize the
17   business on the Property.
18
            14.    Defendants did not offer persons with disabilities with equivalent
19
20   facilities, privileges, and advantages offered by Defendants to other patrons.
21
            15.    Plaintiff encountered barriers, both physical and intangible, that
22
     interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
23
24   privileges, and/or accommodations offered at the Property.
25
            16.    Parking is one of the facilities, privileges, and advantages offered by
26
     Defendants to patrons of the Property.
27
28
                                            4
                                        COMPLAINT
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 1         17.    However, there was no accessible parking for disabled patrons at the
 2
     Property. The parking spaces designated for disabled persons did not comply with
 3
 4   the ADA.

 5         18.    The parking area did not comply with the applicable California
 6
     Building Code (CBC).
 7
 8         19.    When Plaintiff visited the Property, he experienced access barriers
 9   related to parking, signage, paths of travel and other features.
10
           20.    Plaintiff encountered the following barriers, conditions, and/or
11
12   violations at the Property:
13         There is not a single complaint designated disabled parking space and
14
           adjacent loading/unloading access aisle on this Property. All the spaces
15
16         reserved for disabled patrons have faded paint, pavement distresses,
17         slopes, and inadequate space dimensions. There are some spaces that
18
           have illegible signs identifying the designated disabled parking spaces,
19
20         and there is a space that does not have a sign at all. The paths of travel
21
           on this Property, including from the designated disabled parking spaces
22
           to the business entrance have slopes, and pavement distresses, such as
23
24         uneven asphalt and cracks. These areas are dangerous for Plaintiff to
25
           travel on because they are a tripping/falling hazard. This Property
26
           further lacks the required signage.
27
28
                                          5
                                      COMPLAINT
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 1
 2
 3
 4        VIOLATION of 1991 ADAS § 4.3.2(1); 2010 ADAS § 206.2.1; 2010 CBC

 5        § 1114B.1.2; 2019 CBC § 11B-206.2.1. (Exterior route of travel.) An
 6
          accessible route of travel is not provided to all entrances and portions of the
 7
 8        building, to all entrances of the Property, and/or between the building and a
 9        public way. Plaintiff needs a dedicated path of travel, free of obstructions
10
          and vehicles, where (on which) Plaintiff can travel. It is dangerous for
11
12        Plaintiff to navigate without a safe, protected, accessible route of travel; thus,
13        the violation interferes with Plaintiff’s ability to fully access the premises.
14
15
16        VIOLATION of 1991 ADAS §§ 4.1.2(1), 4.3.2(1); 2010 ADAS §§ 206.1,
17        206.2, 206.2.1, 206.2.2, 206.2.4; 2010 CBC § 1114B.1.2; 2010 CBC §
18
          1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-206.2.4.
19
20        (Accessible route of travel.) At least one accessible route shall be provided
21
          within the site from accessible parking spaces and accessible passenger
22
          loading zones; public streets and sidewalks; and public transportation stops to
23
24        the accessible building or facility entrance they serve. At least one accessible
25
          route shall connect accessible buildings, accessible facilities, accessible
26
          elements, and accessible spaces that are on the same site. The requisite
27
28
                                         6
                                     COMPLAINT
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 1        accessible route of travel is not provided. There is no accessible route of
 2
          travel from the designated disabled parking spaces, adjacent access aisle to
 3
 4        the business/building entrance, and around the Property. Plaintiff needs an

 5        accessible route of travel, with level and smooth ground, free of obstructions
 6
          and vehicles, whereupon Plaintiff can ambulate. It is dangerous for Plaintiff
 7
 8        to travel these areas without a safe, protected, accessible route of travel; thus,
 9        the violation interferes with Plaintiff’s ability to fully access the premises.
10
          The lack of a safe and accessible route, with a smooth and level surface,
11
12        denied Plaintiff full and equal use or access during each of Plaintiff’s visits
13        by making it difficult/ harder for Plaintiff to traverse.
14
15
16        VIOLATION of 1991 ADAS § 4.1.2(7); 2010 ADAS § 216.6; 2010 CBC §
17        1127B.3; 2019 CBC § 11B-216.6. (Directional signage.) There is no
18
          directional signage showing an accessible path of travel to an accessible
19
20        entrance. Plaintiff faces an increased risk of injury if Plaintiff is required to
21
          backtrack because Plaintiff cannot find an accessible entrance into the
22
          business/building. Thus, Plaintiff requires clear signage directing him to any
23
24        accessible entrance(s). Accessible entrances should be marked with an
25
          International Symbol of Accessibility.
26
27
28
                                         7
                                     COMPLAINT
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 1        VIOLATION of 2010 CBC § 1129B.4; 2019 CBC § § 11B-502.8, 11B-
 2
          502.8.2. (Off-street unauthorized parking sign – not posted.) The tow away
 3
 4        sign(s) (white sign stating that “UNAUTHORIZED VEHICLES PARKED

 5        IN DESIGNATED ACCESSIBLE SPACES … WILL BE TOWED
 6
          AWAY”) must be posted in a conspicuous place at each entrance to an off-
 7
 8        street parking lot (facility), or immediately adjacent to and visible from each
 9        designated parking stall (space). The requisite sign(s) are not posted.
10
          Plaintiff must use the designated disabled parking spaces and requires the
11
12        proper protections of an access aisle and an accessible route of travel to
13        safely access the Property. Clear signage that explicitly warns of the
14
          consequences for improperly parking in the designated disabled parking
15
16        spaces will deter others without disabilities from parking there.
17
18
          VIOLATION of 1991 ADAS § 4.6.4; 2010 ADAS § 502.6; 2010 CBC §
19
20        1129B.4; 2019 CBC § 11B-502.6.2. (Sign missing – “Minimum Fine
21
          $250.”) There was no sign warning of the minimum fine of $250 for
22
          unauthorized parking posted in front of the right designated disabled parking
23
24        space. Plaintiff needs to park in the space that is closest to the business
25
          entrance and designated for disabled persons. Clear signage that distinctly
26
          warns of the penalties for unauthorized parking in the designated disabled
27
28
                                        8
                                    COMPLAINT
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 1        parking space will deter others without disabilities from parking in the space
 2
          and thereby blocking Plaintiff from being able to use it.
 3
 4        VIOLATION of 1991 ADAS § 4.6.4; 2010 ADAS § 502.6; 2010 CBC §

 5        1129B.4; 2019 CBC § 11B-502.6. (Sign missing – accessible parking
 6
          space.) The sign identifying the designated disabled parking space is/was
 7
 8        missing. Plaintiff needs to park in the space that is nearest to the
 9        building/business entrance and designated for disabled patrons. Plaintiff
10
          needs to be able to use an accessible parking space, with an access aisle, to
11
12        safely access the Property. Clear signage will (better) deter others without
13        disabilities from parking in the space; and will thus decrease the chances that
14
          he will be blocked from being able to use it.
15
16
17        VIOLATION of 2019 CBC § 11B-502.6; 2010 ADAS § 502.6. (Sign
18
          obscured.) The sign identifying designated disabled parking space(s) is
19
20        illegible because it is posted upside down. This makes it difficult for Plaintiff
21
          and other patrons to see and read the sign. Plaintiff needs to be able to use an
22
          accessible parking space, with an access aisle, to safely access the Property.
23
24        Clear signage that explicitly marks the designated disabled parking space will
25
          deter others without disabilities from parking in the space and thereby
26
          blocking Plaintiff from being able to use it. Plaintiff needs to park in the
27
28
                                        9
                                    COMPLAINT
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 1        space that is nearest to the business entrance and designated for disabled
 2
          patrons.
 3
 4        VIOLATION of 2010 CBC § 1129B.1; 2010 ADAS § 502.6. (Signs

 5        obscured- height.) The designated disabled parking spaces do have disabled
 6
          parking signs; however, they are obscured from being read because they have
 7
 8        been posted above ground on a short stand. The designated disabled parking
 9        signs must be at least sixty (60) inches above the ground surface measured to
10
          the bottom of the sign. These signs are located so low to the ground they
11
12        cannot be read because they are hidden behind parked cars.
13
14
          VIOLATION of 2010 ADAS §§ 206.1, 206.2, 206.2.1, 206.2.2, 206.2.4;
15
16        2010 CBC § 1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-
17        206.2.4. (Path of travel into building entrances.) There is no accessible path
18
          of travel into the building entrance. Plaintiff needs a dedicated path of travel,
19
20        free of obstructions and vehicles, where (on which) Plaintiff can safely
21
          travel. It is dangerous for Plaintiff to without a safe, protected, accessible
22
          path of travel; thus, the violation interferes with Plaintiff’s ability to fully
23
24        access the premises.
25
26
          VIOLATION of 2010 ADAS § 403.3; 2019 CBC § 11B-403.3.
27
28
                                        10
                                     COMPLAINT
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 1        (Route/path of travel – cross slopes.) The cross slopes of the route/path of
 2
          travel are greater than two percent (2%). It is difficult for Plaintiff to travel
 3
 4        on surfaces with excess slopes. Plaintiff is at risk of falling when there are

 5        surfaces with excess slopes. The presence of excess slopes denied Plaintiff
 6
          full and equal use or access during Plaintiff’s visits by making it difficult
 7
 8        and/or uncomfortable for Plaintiff to traverse the property/route. The barrier
 9        also deterred/deters Plaintiff from visiting the Property because it would
10
          make it difficult and/or uncomfortable for Plaintiff to walk/traverse the
11
12        property/route.
13
14
          VIOLATION of 1991 ADAS §§ 4.5.2, 4.6.8; 2010 ADAS §§ 302.1, 303.1,
15
16        303.2, 303.3, 303.4; 2010 CBC §§ 1120B.2, 1133 B.7.1, 1133B.7.4; 2019
17        CBC §§ 11B-303.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-303.5. (Abrupt
18
          changes in level; uneven ground surface.) Floor and ground surfaces shall be
19
20        stable, firm, and slip resistant. Changes in level of 1/4 inch high maximum
21
          shall be permitted to be vertical and without edge treatment. Changes in
22
          level between ¼-inch high minimum and ½-inch high maximum shall be
23
24        beveled with a slope not steeper than 1:2. Changes in level greater than 1/2
25
          inch high shall be ramped. The route of travel, including from the designated
26
          disabled parking space to the entrance of the building/business and around
27
28
                                        11
                                     COMPLAINT
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 1        the Property, have an uneven ground surface with changes in level exceeding
 2
          one-half inch (1/2") (and no ramps are provided). The route of travel has
 3
 4        damaged ground which is not flush or flat. The ground has pavement

 5        distresses. The types of pavement distresses which exist include but are not
 6
          limited to: alligator (fatigue) cracking; joint reflection cracking; potholes;
 7
 8        asphalt bleeding; patching near utilities; block cracking; raveling; stripping;
 9        corrugation and shoving; and depressions. These pavement distresses are
10
          made worse and exacerbated by design elements which do not follow the
11
12        ADAAG. These areas should be fixed immediately because they pose a
13        tripping and/or falling hazard. Plaintiff, a cannot safely and fully enjoy the
14
          premises when such conditions are present. These excess changes in level
15
16        and uneven ground surfaces pose risks to Plaintiff, including that Plaintiff’s
17        foot, may catch on the uneven ground causing Plaintiff to fall. These abrupt
18
          changes in level pose an increased risk of danger to Plaintiff, as Plaintiff is
19
20        more likely to trip/fall than someone without disabilities. The excess
21
          changes in level (i.e., uneven ground) denied Plaintiff full and equal use or
22
          access during each of Plaintiff’s visits by making it difficult/harder and more
23
24        dangerous for Plaintiff to traverse the property/route. The excess changes in
25
          level (i.e., uneven ground) also deterred/deters Plaintiff from visiting the
26
          Property because it would be difficult/harder and more dangerous for
27
28
                                        12
                                     COMPLAINT
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 1        Plaintiff to traverse the property/route.
 2
 3
 4        VIOLATION of 1991 ADAS § 4.29.5; 2010 CBC § 1133B.8.5; 2019 CBC

 5        § 11B-247.1.2.5. (Hazardous Vehicular Area.) The path of travel crosses a
 6
          vehicular way, but the walking surface is not separated by curbs, railings, or
 7
 8        a continuous detectable warning. There is no safe way for Plaintiff to travel
 9        from the designated disabled parking space(s) to the business/building
10
          entrance. Plaintiff is forced to travel a dangerous route, behind parked cars
11
12        and in the vehicle drive path, to move from and between the service facilities
13        to the business entrance. Plaintiff faces an increased risk of injury if Plaintiff
14
          has to travel in the path of vehicles because it is more difficult for drivers to
15
16        see Plaintiff, and Plaintiff cannot quickly move out of the way of an
17        oncoming vehicle. Thus, Plaintiff requires a safe path away from other
18
          vehicles. The safe, accessible path must be clearly marked so that Plaintiff
19
20        can find it.
21
22
          VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.2.; 2010 CBC §§
23
24        1129B.3, 1129B.4; 2019 CBC §§ 11B-502.2, 11B-502.6.4.1, 502.6.4.2.
25
          (Faded paint – accessible parking space lines.) The paint used for the
26
          designated disabled parking space is so worn and aged that it cannot (can
27
28
                                        13
                                     COMPLAINT
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 1        hardly) be seen. This makes it unclear where the actual designated disabled
 2
          parking space is, and it makes it difficult for Plaintiff to use the space.
 3
 4        Plaintiff needs to be able to use the designated disabled parking space, which

 5        should be located closest to the entrance and linked to an accessible route of
 6
          travel, because it is more difficult for Plaintiff as opposed to non-disabled
 7
 8        persons, to maneuver about the Property. When the paint for the designated
 9        disabled parking space is worn and aged, there is a greater risk that non-
10
          disabled patrons will park in the designated disabled parking space,
11
12        preventing Plaintiff from using it and accessing the business.
13
14
          VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.1; 2010 CBC §
15
16        1129B.3; 2019 CBC 11B-502.3.1. (Width of adjacent access aisle.) The
17        loading/unloading access aisle adjacent to the designated disabled parking
18
          space is/was less than five feet (5') wide, which denied (would deny) plaintiff
19
20        full and equal use and access of the full width of the required access aisle.
21
          Plaintiff needs extra space to be able to safely exit the vehicle. When the
22
          access aisle is too small, Plaintiff has difficulty disembarking from the
23
24        vehicle, which poses a greater risk of injury to Plaintiff and can also cause
25
          humiliation and/or frustration.
26
27
28
                                        14
                                     COMPLAINT
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 1        VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
 2
          11B-502.2. (Width of designated disabled parking space.) The designated
 3
 4        disabled parking space measured/measures less than nine feet (9') wide,

 5        which made (would make) it difficult for Plaintiff to use the designated
 6
          space, and which denied (would deny) plaintiff full and equal use and access
 7
 8        of the full width of the required space. The paint used for the accessible
 9        parking space lines are so faded and worn that it is difficult to identify the
10
          actual dimensions of the space. Plaintiff cannot safely disembark from the
11
12        vehicle when adequate space is not provided. Plaintiff needs to be able to
13        use the designated disabled parking space, which should be located closest to
14
          the entrance and linked to an accessible route of travel, because it is more
15
16        difficult for Plaintiff, as opposed to non-disabled persons to maneuver about
17        the Property.
18
19
20        VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
21
          11B-502.2. (Length of designated disabled parking space.) The designated
22
          disabled parking space measures/measured less than eighteen feet (18') long,
23
24        which made (would make) it difficult for Plaintiff to use the designated
25
          space, and which denied (would deny) plaintiff full and equal use and access
26
          of the full length of the required space. The paint used for the accessible
27
28
                                        15
                                     COMPLAINT
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 1        parking space lines are so faded and worn that it is difficult to identify the
 2
          actual dimensions of the space. Plaintiff cannot safely park and disembark
 3
 4        from the vehicle when adequate space is not provided. Plaintiff needs to be

 5        able to use the designated disabled parking space, which should be located
 6
          closest to the entrance and linked to an accessible route of travel, because it
 7
 8        is more difficult for Plaintiff, as opposed to non-disabled persons, to
 9        maneuver about the Property.
10
11
12        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.2; 2010 CBC §
13        1129B.3; 2019 CBC § 11B-502.3.2. (Length of adjacent access aisle.) The
14
          access aisle adjacent to the designated disabled parking space is/was less than
15
16        eighteen feet (18') long (which is also the required length of the designated
17        disabled parking space), which denied (would deny) plaintiff full and equal
18
          use and access of the full length of the required access aisle. Plaintiff needs
19
20        extra space to be able to safely exit the vehicle. When the access aisle is too
21
          small, Plaintiff has difficulty disembarking from the vehicle, which poses a
22
          greater risk of injury to Plaintiff and can also cause humiliation and/or
23
24        frustration.
25
26
          VIOLATION of 2010 CBC § 1129B.4; 2019 CBC § 11B-502.6.4.
27
28
                                        16
                                     COMPLAINT
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 1        (Parking space ground surface signage.) The paint used for the designated
 2
          disabled parking space is faded and cannot (can hardly) be seen; thus, there
 3
 4        is no compliant surface signage at the designated disabled parking space.

 5        The International Symbol of Accessibility is so faded and worn that it can
 6
          hardly be seen. This makes it difficult for Plaintiff and other patrons to
 7
 8        identify or locate the designated disabled parking space. When the paint for
 9        the International Symbol of Accessibility is so faded and worn, there is a
10
          greater risk that non-disabled patrons will park in the designated disabled
11
12        parking space, preventing Plaintiff from using it and accessing the business.
13        Plaintiff needs to be able to park in the space that is nearest to the entrance
14
          and designated for disabled patrons. Plaintiff needs to be able to use an
15
16        accessible parking space, with an access aisle, to safely access the Property.
17        Clear surface signage that explicitly marks the designated disabled parking
18
          space will deter others without disabilities from parking in the space, so that
19
20        the space can be available for Plaintiff’s use.
21
22
          VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2016 CBC §§
23
24        11B-502.4, 11B-502.3.3; 2010 CBC § 1129B.3.4. (Slope of designated
25
          disabled parking spaces.) The designated disabled parking spaces have
26
          slopes and cross slopes that are greater than two percent (2%). Given
27
28
                                        17
                                     COMPLAINT
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 1        Plaintiff’s mobility issues, Plaintiff needs to be able to traverse on a level
 2
          surface. Sloped ground surfaces pose risks to Plaintiff, including that
 3
 4        Plaintiff’s feet may catch on the sloped ground, causing Plaintiff to fall.

 5
 6
          VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2010 CBC §
 7
 8        1129B.3.3; 2019 CBC § 11B-502.4. (Slopes of adjacent access aisle.) The
 9        loading/unloading access aisle adjacent to the designated disabled parking
10
          spaces has surface slopes greater than two percent (2%). Given Plaintiff’s
11
12        mobility issues, Plaintiff needs to be able to traverse on a level surface.
13        Sloped ground surfaces pose risks to Plaintiff, including that Plaintiff’s feet
14
          may catch on the sloped ground, causing Plaintiff to fall.
15
16
17        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §
18
          1129B.3.1; 2019 CBC § 11B-502.3. (No loading/unloading access aisle.)
19
20        The loading/unloading access aisle which is required to be adjacent to the
21
          designated disabled parking space is/was essentially missing. There were a
22
          few barely visible lines, which may have been the remnants of a once
23
24        painted access aisle, but which did not constitute or depict a compliant
25
          access aisle. This made it difficult for Plaintiff to use the space (i.e., the
26
          barely visible former access aisle) to safely disembark from the vehicle. The
27
28
                                        18
                                     COMPLAINT
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 1        barrier denied (would deny) Plaintiff full and equal use or access, by
 2
          depriving Plaintiff of an aisle which is required to be properly striped/
 3
 4        marked for Plaintiff’s use (i.e., for the use of disabled persons as opposed to

 5        nondisabled persons). Plaintiff requires sufficient space to safely disembark
 6
          with her mobility device(s) away from other vehicles. Also, when an access
 7
 8        aisle is not clearly painted, there is a greater chance that non-disabled
 9        individuals will park in the access aisle, blocking Plaintiff’s use thereof.
10
11
12        VIOLATION of 2010 ADAS § 502.3.3; 2010 CBC § 1129B.3.1; 2019
13        CBC § 11B-502.3.3. (“NO PARKING” – ground surface signage.) The
14
          words “NO PARKING,” which are required to be painted in the loading/
15
16        unloading access aisle, were missing (and/or were completely faded such that
17        the words were no longer visible). As a result, non-disabled patrons parked
18
          in the loading/unloading access aisle, blocking Plaintiff from being able to
19
20        use the access aisle. Plaintiff needs extra space to be able to safely exit the
21        vehicle. Plaintiff has difficulty disembarking the vehicle, which poses a
22
          greater risk of injury to Plaintiff and can cause humiliation and/or frustration.
23
24        Plaintiff cannot access the Property safely if Plaintiff cannot use an
25
          accessible parking space and adjacent access aisle.
26
27
28
                                        19
                                     COMPLAINT
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 1        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §
 2
          1129B.3; 2019 CBC § 11B-502.3. (Access aisle adjoining accessible route.)
 3
 4        The adjacent loading/unloading access aisles must adjoin an accessible route

 5        to an accessible entrance. It does/did not. Plaintiff cannot access the
 6
          Property safely unless there is an access aisle onto which Plaintiff can
 7
 8        disembark from the vehicle. The access aisle must lead to an accessible route,
 9        so that Plaintiff can safely travel to and enter the business. There is no safe
10
          route of travel from the designated disabled parking space to the business
11
12        entrance. The barrier deterred/deters Plaintiff from visiting the property
13        because the lack of a safe and accessible route would make it difficult,
14
          uncomfortable, and/or unsafe for Plaintiff to walk around the property,
15
16        including to travel from the designated disabled parking space to the building
17        entrance.
18
19
20        VIOLATION of 1991 ADAS §§ 4.3.8, 4.5.2; 2010 ADAS §§ 302.1, 303.2,
21
          303.3, 303.4, 403.2; 2010 CBC §§ 1133B.7.1, 1133B.7.4; 2019 CBC §§
22
          11B-302.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-403.2. (Changes in level
23
24        – designated disabled parking space.) There are excess changes in level (of
25
          more than one-half inch) within the parking spaces reserved for disabled
26
          patrons. The asphalt is uneven, and has depressions, dips, and divots. The
27
28
                                       20
                                    COMPLAINT
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 1        ground has sunken and cracked parts. This makes travelling in this area
 2
          difficult. These excess changes in level and uneven ground surfaces pose
 3
 4        risks to Plaintiff, including that Plaintiff may fall.

 5
 6
          VIOLATION of 1991 ADAS §§ 4.3.7, 4.8.1; 4.8.4(2), 4.8.4(3); 2010 ADAS
 7
 8        § 403.3; 2010 CBC §§ 1133B.5.4.2, 1133B.5.4.6; 2019 CBC § 11B-403.3.
 9        (Excess slopes; no compliant ramp.) The route(s) of travel has/have slopes
10
          greater than 1:20 (5%), but there is no compliant ramp (with appropriate
11
12        level ramp landings at the top and bottom of each ramp). It is difficult for
13        Plaintiff to walk on sloped surfaces that do not provide the safety features of
14
          a compliant ramp. These excess changes in level pose risks to Plaintiff,
15
16        including that Plaintiff may fall. The lack of a complaint ramp, with its
17        attendant safety/accessibility features, denied Plaintiff full and equal use or
18
          access during his visits by making it difficult/harder for Plaintiff to traverse
19
20        the property/route.
21
22
          VIOLATION of 2010 CBC § 1133B.5.2; 2019 CBC § 11B-405.5.
23
24        (Minimum width of ramps.) The route of travel has slopes greater than 1:20
25
          (5%), but there is no compliant ramp. There is no compliant ramp with a
26
          minimum width of forty-eight inches (48"). Plaintiff requires adequate space
27
28
                                        21
                                     COMPLAINT
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 1        to navigate on sloped surfaces and/or ramps and Plaintiff cannot do so
 2
          without a ramp of sufficient width. The lack of a complaint ramp, of the
 3
 4        requisite width, denied Plaintiff full and equal use or access during Plaintiff’s

 5        visits by making it difficult/ harder for Plaintiff to traverse the property/route.
 6
          The lack of a complaint ramp, of the requisite width, also deterred/deters
 7
 8        Plaintiff from visiting the Property because it would be difficult/harder for
 9        Plaintiff to traverse the property/route.
10
11
12        VIOLATION of 1991 ADAS § 4.8.2; 2010 CBC § 1133B.5.3. (Least
13        possible slope of ramp.) There is no compliant ramp, with the least possible
14
          slope, leading into the business. The curb ramp exceeds the maximum
15
16        running slope allowable. Plaintiff has difficulty traveling on slopes that are
17        not compliant ramps.
18
19
20        VIOLATION of 1991 ADAS § 4.8.2; 2019 CBC § 11B-405.2. (Maximum
21
          slope of ramp.) Ramp runs shall have a running slope not steeper than 8.33%
22
          (1:12). The slope of the area leading into the business is/was greater than
23
24        8.33%. This exceeds the maximum running slope allowable. It is difficult
25
          and dangerous for Plaintiff to walk on excess slopes, and/or sloped surfaces
26
          that do not provide the safety features of a compliant ramp. The presence of
27
28
                                        22
                                     COMPLAINT
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 1         excessively steep running slopes (and the absence of a compliant ramp)
 2
           denied/denies Plaintiff full and equal use or access by making it
 3
 4         difficult/harder for Plaintiff to walk/traverse the property/route.

 5
 6
           VIOLATION of 2010 ADAS § 403.3; 2019 CBC § 11B-403.3. (Route of
 7
 8         travel/ramp – cross slope.) The cross slope of the route of travel/ramp is
 9         greater than two percent (2%). It is difficult for Plaintiff to walk/traverse on
10
           surfaces with excess slopes. These excess slopes pose risks to Plaintiff,
11
12         including that Plaintiff may fall. Plaintiff has difficulty walking on excess
13         slopes. Plaintiff is at risk of falling when there are surfaces with excess
14
           slopes. The presence of excess slopes denied Plaintiff full and equal use or
15
16         access during his visits by making it difficult and/or uncomfortable to
17         walk/traverse the property/route. The barrier also deterred/deters Plaintiff
18
           from visiting the Property because it would make it difficult and/or
19
20         uncomfortable for Plaintiff to walk/traverse the property/route.
21
22
           21.    Plaintiff personally encountered the foregoing barriers, conditions,
23
24   and/or violations.
25
           22.    These barriers, conditions, and/or violations denied Plaintiff full and
26
     equal access, and caused him difficulty, humiliation, and/or frustration.
27
28
                                         23
                                      COMPLAINT
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 1          23.    The barriers, conditions, and/or violations existed during each of
 2
     Plaintiff’s visits in 2020 and 2021.
 3
 4          24.    Defendants knew that the foregoing architectural barriers prevented

 5   access. Plaintiff will prove that Defendants had actual knowledge that the
 6
     architectural barriers prevented access, and that the noncompliance with the ADA
 7
 8   Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
 9   Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
10
     was intentional.
11
12          25.    Plaintiff intends and plans to visit the Property again soon. Currently,
13   Plaintiff is reasonably deterred from returning to Defendants’ public
14
     accommodation facilities because of the knowledge of barriers to equal access,
15
16   relating to Plaintiff’s disabilities, that continue to exist at the Property.
17          26.    Defendants have failed to maintain in working and useable condition
18
     those features necessary to provide ready access to persons with disabilities.
19
20          27.    Defendants have the financial resources (i.e., financial ability) to
21
     remove these barriers without much expense or difficulty in order to make the
22
     Property more accessible to their mobility impaired customers (i.e., disabled
23
24   persons). The removal of these barriers is readily achievable. The United States
25
     Department of Justice has determined that removal of these types of barriers is
26
     readily achievable.
27
28
                                           24
                                        COMPLAINT
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 1         28.    Defendants refuse to remove these barriers.
 2
           29.    On information and belief, Plaintiff alleges that Defendants’ failure to
 3
 4   remove these barriers was/is intentional, because the barriers are logical and

 5   obvious. During all relevant times, Defendants had authority, control, and
 6
     dominion over these conditions. Thus, the absence of accessible facilities was/is
 7
 8   not a mishap; it was/is the result of intentional actions or inaction.
 9         30.    These barriers to access are described herein without prejudice to
10
     Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
11
12   agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
13   (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
14
     have all barriers that relate to his or her disability removed, regardless of whether
15
16   he or she personally encountered them).
17               IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
18
                   AMERICANS WITH DISABILITIES ACT OF 1990
19
20                                 (42 U.S.C. § 12101, et seq.)
21
                                    (Against All Defendants)
22
           31.    Plaintiff alleges and incorporates by reference each and every
23
24   allegation contained in all prior paragraphs of this complaint.
25
           32.    Title III of the ADA prohibits discrimination against any person on the
26
     basis of disability in the full and equal enjoyment of the goods, services, facilities,
27
28
                                          25
                                       COMPLAINT
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 1   privileges, advantages, or accommodations of any place of public accommodation
 2
     by any person who owns, leases, or operates a place of public accommodation. 42
 3
 4   U.S.C. § 12182(a).

 5             33.   Defendants discriminated against Plaintiff by denying him “full and
 6
     equal enjoyment” and use of the goods, services, facilities, privileges, and/or
 7
 8   accommodations they offered during each visit, and each incident of a deterred
 9   visit.
10
               34.   The acts and omissions of Defendants herein were/are in violation of
11
12   Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
13   et seq.
14
               35.   Pursuant to the ADA, discrimination is a “failure to make reasonable
15
16   modifications in policies, practices or procedures, when such modifications are
17   necessary to afford goods, services, facilities, privileges, advantages or
18
     accommodations to individuals with disabilities, unless the entity can demonstrate
19
20   that making such modifications would fundamentally alter the nature of such goods,
21
     services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
22
     12182(b)(2)(A)(ii).
23
24             36.   The ADA requires removal of architectural barriers in existing
25
     facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
26
     (“discrimination includes … a failure to remove architectural barriers, and
27
28
                                           26
                                        COMPLAINT
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 1   communication barriers that are structural in nature, in existing facilities, … where
 2
     such removal is readily achievable”). The term “readily achievable” is defined as
 3
 4   “easily accomplishable and able to be carried out without much difficulty or

 5   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
 6
     Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
 7
 8   ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
 9   Appendix A.
10
           37.    If removal of any barrier is not readily achievable, a failure to make
11
12   goods, services, facilities, or accommodations available through alternative
13   methods is also prohibited if the alternative methods are readily achievable. 42
14
     U.S.C. § 12182(b)(2)(A)(v).
15
16         38.    Defendants can remove the architectural barriers at their facility
17   without much difficulty or expense. Defendants violated the ADA by failing to
18
     remove the barriers because removal was readily achievable. For instance, there
19
20   are companies which can repaint parking areas for as little as $350. Defendants can
21
     afford such costs, which are a fraction of what Defendants receive in (rental or
22
     business) profits in connection with such a large and expensive property.
23
24         39.    Alternatively, if it was not “readily achievable” for Defendants to
25
     remove barriers at their facilities, Defendants violated the ADA by failing to make
26
     their services available through alternative methods which are readily achievable.
27
28
                                        27
                                     COMPLAINT
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 1         40.    On information and belief, Plaintiff alleges that the facility was altered
 2
     after January 26, 1992, mandating compliance with accessibility requirements
 3
 4   under the ADA.

 5         41.    The ADA requires that facilities altered in a manner that affects or
 6
     could affect their usability must be made readily accessible to individuals with
 7
 8   disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
 9         42.    Defendants altered the facilities at the Property in a manner that
10
     violated the ADA, and/or failed to make the Property readily accessible to
11
12   physically disabled persons to the maximum extent feasible.
13         43.    The ADA also requires reasonable modifications in policies, practices,
14
     or procedures, when such modifications are necessary to afford goods, services,
15
16   facilities, privileges, advantages, or accommodations to individuals with
17   disabilities, unless the entity can demonstrate that making such modifications
18
     would fundamentally alter the nature of such goods, services, facilities, privileges,
19
20   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
21
           44.    Defendants violated the ADA by failing to make reasonable
22
     modifications in policies, practices, or procedures at the Property when these
23
24   modifications were necessary to afford (and would not fundamentally alter the
25
     nature of) the goods, services, facilities, privileges, advantages, or accommodations.
26
           45.    Plaintiff seeks a finding from this Court that Defendants violated the
27
28
                                         28
                                      COMPLAINT
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 1   ADA, so that he may pursue damages under California’s Unruh Civil Rights Act.
 2
           46.    Here Defendants’ failure to make sure that accessible facilities were
 3
 4   available to, and ready to be used by, Plaintiff was/is a violation of law.

 5         47.    Plaintiff would like to continue to frequent the Property, which is close
 6
     to his home. However, he is deterred from doing so because he has been
 7
 8   discriminated against and is aware of accessibility barriers at the Property.
 9         48.    Among the remedies sought, Plaintiff seeks an injunction order
10
     requiring compliance with federal and state disability access laws, and remediation
11
12   of the existing access violations (i.e., removal of the existing barriers) at the
13   Property.
14
                 V. SECOND CAUSE OF ACTION: VIOLATION OF THE
15
16                              UNRUH CIVIL RIGHTS ACT
17                                 (Cal. Civ. Code §§ 51-53)
18
                                    (Against All Defendants)
19
20         49.    Plaintiff repleads and incorporates by reference, as though fully set
21
     forth herein, the allegations contained in all prior paragraphs of this complaint.
22
           50.    California Civil Code § 51 states, in part: “All persons within the
23
24   jurisdictions of this state are entitled to the full and equal accommodations,
25
     advantages, facilities, privileges, or services in all business establishments of every
26
     kind whatsoever.”
27
28
                                          29
                                       COMPLAINT
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 1          51.    California Civil Code § 51 also states, in part: “No business
 2
     establishment of any kind whatsoever shall discriminate against any person in this
 3
 4   state because of the disability of the person.”

 5          52.    California Civil Code § 51(f) specifically incorporates, by reference,
 6
     an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
 7
 8          53.    The UCRA also provides that a violation of the ADA, or California
 9   state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
10
     see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
11
12   1994).
13          54.    Defendants’ above-mentioned acts and omissions have violated the
14
     UCRA by denying Plaintiff his rights to full and equal use of the accommodations,
15
16   advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
17   disability.
18
            55.    Defendants’ above-mentioned acts and omissions have also violated
19
20   the UCRA by denying Plaintiff his rights to equal access pursuant to the ADA; and,
21
     thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
22
            56.    Because Defendants’ violation of the UCRA resulted in difficulty,
23
24   discomfort, and/or embarrassment for Plaintiff, Defendants are each also
25
     responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
26
            57.    Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
27
28
                                          30
                                       COMPLAINT
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 1   He seeks actual damages, and statutory minimum damages of four thousand dollars
 2
     ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied full and
 3
 4   equal access).

 5                                 PRAYER FOR RELIEF
 6
           WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
 7
 8         1. For injunctive relief compelling Defendants to comply with the
 9             Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
10
               Plaintiff is not invoking section 55 of the California Civil Code and is not
11
12             seeking injunctive relief under the Disabled Persons Act.
13         2. Damages under the Unruh Civil Rights Act, which provides for actual
14
               damages and statutory minimum damages of $4,000 per each offense.
15
16         3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
17             to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
18
19
20                                     JURY DEMAND
21         Plaintiff demands a trial by jury on all issues so triable.
22
23
24
     Dated: April 14, 2021            THE LAW OFFICE OF HAKIMI & SHAHRIARI
25
                                      By:    /s/ Anoush Hakimi
26                                           ANOUSH HAKIMI, ESQ.
27                                           Attorney for Plaintiff Victor Dalfio
28
                                         31
                                      COMPLAINT
